Case 2:20-cr-00288-APG-DJA Document8 Filed 11/04/20 Page1of1

AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing

 

UNITED STATES DISTRICT COURT

for the
District of Nevada
United States of America )
Vv. ) Case No. 2:20-cr-288-APG-DJA
)
a __ JUSTIN BESSETTE )
Defendant }

 

ORDER SCHEDULING A DETENTION HEARING

 

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A detention hearing in this case is scheduled as follows: Oe
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po - - a RE
Place: Lloyd D. George United States Courthouse ‘Courtroom No.: 3D a
333 Las Vegas Blvd., South ieee:

Las Vegas, NV 89101 i —— - - oan

Elayna J. Youchah, U.S. Magistrate Judge Date and Time: November 5, 2020 at 3:00 pig.

 

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IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and dade.
place set forth above. ia

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Date: | November 4, 2020

 

 
  

  
 

  
    
 
  

 

 
 

    
  
 

  

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